     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 1 of 15 Page ID #:1



 1    ANOUSH HAKIMI (State Bar No. 228858)
      anoush@handslawgroup.com
 2    PETER SHAHRIARI (State Bar No. 237074)
      peter@handslawgroup.com
 3    THE LAW OFFFICE OF HAKIMI &
      SHAHRIARI
 4    7080 Hollywood Blvd., Suite 804
      Los Angeles, CA 90028
 5
      Telephone: (323) 672 - 8281
 6    Facsimile: (213) 402 - 2170
 7    Attorneys for Plaintiff,
      GEORGE JONES
 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
      George Jones,                                 Case No.:
12
                Plaintiff,
13
          v.                                COMPLAINT FOR VIOLATIONS
14                                          OF: AMERICAN’S WITH
      Hanmi Bank, a California Company; and DISABILITIES ACT OF 1990, 42
15    Does 1-10,                            U.S.C. § 12181 et seq.; UNRUH
                                            CIVIL RIGHTS ACT, CALIFORNIA
16            Defendants.                   CIVIL CODE § 51 et seq.
17
18
19
20
                     Most Americans will become disabled, at some point in life.
21
22
23
               Plaintiff George Jones (hereinafter referred to as “Plaintiff”), complains of
24
      Hanmi Bank, a California Company; and Does 1-10 (each, individually a
25
      “Defendant” and collectively “Defendants”) and alleges as follows:
26
                                  I.     PARTIES
27
28             1.    George Jones is hemiplegic because of brain strokes. He has lost


                                             COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 2 of 15 Page ID #:2



 1    function on the left side of his body, his dominant side. He relies on a cane and
 2    sometimes walker. He has difficulty using his upper body and lower body. Plaintiff
 3
      has difficulty walking and pushing or pulling objects. Plaintiff has been issued a
 4
      blue permanent disability Disabled Person Parking Placard by the State of
 5
      California. Plaintiff is qualified as being disabled pursuant to 42 USC Section
 6
      12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq. and 52, et
 7
      seq., and other statutory laws which protect the rights of “disabled persons”.
 8
      Plaintiff is a California resident with physical disabilities.
 9
10             2.   Defendant Hanmi Bank, a California Company; owned the property

11    (“Property”) located 3737 W Olympic Blvd, Los Angeles, CA 90019 at all relevant

12    times.
13             3.   There is a business establishment on the Property known as the
14    “Hanmi Bank” (hereinafter “business”).
15             4.   DOES 1 through 10 were at all relevant times lessors, lessees, property
16    owners, subsidiaries, parent companies, employers, employees, agents, corporate
17    officers, managers, principles and/or representatives of Defendants. Plaintiff is
18
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
19
      through 10, inclusive, and therefore, sues those Defendants by fictitious names.
20
      Plaintiff requests that the Court grant leave to amend this complaint to allege the
21
      true names and capacities when determined by whatever source.
22
               5.   Plaintiff alleges that Defendants at all times have been and are relevant
23
      to this cause of action, the owners, franchisees, lessees, general partners, limited
24
25    partners, agents, employees, employers, represent partners, subsidiaries, partner

26    companies, and/or joint ventures of the remaining Defendants and were acting
27    within the course and scope of that relationship. Plaintiff is further informed and
28    believes and alleges that each of the Defendants gave consent to, ratified, and/or
                                             2
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 3 of 15 Page ID #:3



 1    authorized the acts alleged of each of the remaining defendants.
 2           6.     Plaintiff visited the public accommodations owned and operated by
 3
      Defendants with the intent to purchase and/or use the goods, services, facilities,
 4
      privileges, advantages or accommodations operated and/or owned by Defendants.
 5
 6
                                  II.    JURISDICTION & VENUE
 7
             7.     This Court has subject matter jurisdiction over this action pursuant to
 8
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
 9
10    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).

11           8.     Pursuant to supplemental jurisdiction, an attendant and related cause of

12    action, arising from the same nucleus of operative facts and arising out of the same
13    transactions, is also brought under California’s Unruh Civil Rights Act, which act
14    expressly incorporates the ADA.
15           9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
16    founded on the fact that the real property which is the subject of this action is
17    located in this district and that Plaintiffs cause of action arose in this district.
18
19
                                  III.   FACTS
20
             10.    The Property owned by Defendants is a facility which is open to the
21
      public and is a business establishment.
22
             11.    Plaintiff alleges that the Property has been newly constructed and/or
23
      underwent remodeling, repairs, or alterations since 1992, and that Defendants have
24
25    failed to comply with California access standards which applied at the time of each

26    new construction and/or alteration or failed to maintain accessible features in
27    operable working condition.
28           12.    Plaintiff visited the Property during the relevant statutory period on
                                             3
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 4 of 15 Page ID #:4



 1    three (3) separate occasions in June 2020 and July 2020 to patronize the business.
 2          13.    Defendants did not offer persons with disabilities with equivalent
 3
      facilities, privileges and advantages offered by Defendants to other patrons.
 4
            14.    Plaintiff encountered barriers (both physical and intangible) that
 5
      interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
 6
      services, privileges and accommodations offered at the Property.
 7
            15.    However, the property lacks accessible parking, walkways, signage,
 8
      entrance, and slopes for disabled persons and the parking spaces designated for
 9
10    disabled person do not comply with the Americans with Disabilities Act (“ADA”).

11    These areas do not comply with the latest California Building Codes (“2010 CBC

12    Code”).
13          16.    When Plaintiff visited the Property, he experienced access barriers
14    related to parking.
15          17.    Plaintiff encountered the following barriers at Defendant’s Property:
16
17          Hanmi Bank and the Property it sits on is in desperate need of
18
            retrofitting, remodeling, asphalt maintenance and a thorough review of
19
            its accessibility features. The entire parking area sits on a slope, and
20
            presents cross slopes. There is block asphalt bleeding and confusing
21
            repainted parking markings. There is no marked path, exacerbating the
22
            ground hazards caused by asphalt raveling in front of the entrance. The
23
            warnings such as “NO PARKING” are missing from the adjacent
24
25          unloading aisle for the disabled accessible space. There is no sign for the

26          disabled parking space but there is a terribly worn and faded sign on a
27          back wall near the unloading aisle. However, the sign is completely
28          unreadable. There are many other access violations as well:
                                           4
                                       COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 5 of 15 Page ID #:5



 1          VIOLATION of 2010 CBC Code Section 1127B.1. (No Accessible
 2          Exterior Route). There is no accessible path of travel into the building
 3
            entrances. There is no safe way for Plaintiff to park and then travel to the
 4
            entrance of the Property.
 5
 6
 7          VIOLATION of 2010 CBC Code Section 1127B.1; ADA 1991 Code §
 8          4.6.2(1). (Directional signage). There is no directional signage showing an
 9          accessible path of travel.
10
11
            VIOLATION of 2010 CBC 1133B.7.4; ADA 2010 section 303.3. (Path
12
            from Parking – Uneven surface) The path of travel from the designated
13
            disabled parking space to the entrance has damaged ground which is uneven.
14
            The damaged ground has pavement distresses. Parts of the ground surface are
15
16          not flush. The surface of the ground within the designated path of travel

17          leading into the entrance is not flat. This makes traveling in this area
18          difficult. The path of travel from the designated disabled parking space to the
19          entrance runs into these pavement distresses which has caused changes in
20          level greater than 1/2 inch but provides no ramps. These steep changes in
21          level create uneven surfaces. The types of pavement distresses which exist
22          include but are not limited to:
23
               • potholes
24
25             • asphalt bleeding

26             • patching near utilities
27
               • block cracking
28
                                             5
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 6 of 15 Page ID #:6



 1             • raveling; and
 2
               • depressions
 3
 4          These pavement distresses are made worse and exacerbated by designs
 5          which do not follow the ADAAG.
 6
            WARNING: These areas should be fixed immediately because they are
 7
            also a tripping and falling hazard.
 8
 9
10
            VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1); (Exterior
11
            Route of Travel) An accessible route of travel was not provided to all
12
            portions of the building, entrances and between the building and public way.
13
14
15          VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1), 4.1.2(1);
16          (Transportation - Route of Travel) An accessible route of travel must be
17          provided within the property boundary connecting public transport zones,
18          parking, passenger loading zones and public streets or sidewalks they serve,
19
            to the building entrance. There was no accessible route connecting these
20
            elements for Plaintiff to travel: Even the exteriors of the building were not
21
            accessible.
22
23
24
            VIOLATION 2010 CBC Code 1129B.4; ADA 1991 § 4.6.4; ADA 2010 §
25
            502.6. (Sign Missing – Accessible Parking Space). The sign identifying the
26
            designated disabled accessible parking space is missing entirely.
27
28
                                           6
                                       COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 7 of 15 Page ID #:7



 1          VIOLATION of 2010 CBC 1129B.4(5); (Off-Street Unauthorized Parking
 2          Sign). An additional sign must be posted in a conspicuous place at all
 3
            entrances to off-street parking facilities at Property, or adjacent to and visible
 4
            from each space. It was not.
 5
 6
 7          VIOLATION of 2010 CBC Code 1129B.3.1. (“No Parking” – surface sign).
 8          The words “No Parking” are missing from the adjacent loading/unloading
 9
            access aisle. They must be painted with letters at least 12” high. As a result,
10
            non-disabled patrons park in the loading/unloading access aisle – blocking
11
            Plaintiff from being able to use the access aisle.
12
13
14
            VIOLATION 2010 CBC Code 1129B.4 (Sign Missing – $250 Fine). The
15
            sign warning of the minimum $250 fine for unauthorized parking in the
16
            designated disabled accessible parking space is missing entirely.
17
18
19          VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
20
            Sign – Towed Vehicle Information). The Unauthorized Parking Towed
21
            Vehicle sign must state information regarding the tow company and
22
            telephone number. This information was not provided.
23
24
25
            VIOLATION of 2010 CBC Code Section 1129B.3; 1991 ADA § 4.6.3;
26
            ADA 2010 § 502.2. (Faded Paint – Accessible Space Lines). The paint used
27
            for the designated accessible parking space is so worn and aged, it cannot be
28
                                           7
                                       COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 8 of 15 Page ID #:8



 1          seen. This makes it unclear where the actual parking space is. The required
 2          width dimensions were not painted as required. This makes it difficult for
 3
            Plaintiff to park in the designated space.
 4
 5
 6          VIOLATION of 2010 CBC Code 1129B.3; ADA 2010 § 502.2. (Length of
 7          space). The designated disabled parking spaces measure less than 18 feet
 8          long which makes it difficult for Plaintiff to park in the designated space.
 9
10
11          VIOLATION of 2010 CBC Code 1133B.7.1; ADA 1991 Code § 4.6.8.

12          (Abrupt Change in Level Exceeding 1/2”). The path of travel from the space

13          reserved for disabled patrons, the ground surface is uneven, with changes in
14          level exceeding 1/2”.
15
16
17          VIOLATION of 1991 CA Title 24 1129B.4.2; 2010 CBC Code 1129B.3;

18          ADA 2010 § 4.6.3. (Length of adjacent access aisle). The adjacent access
19          aisles to all the designated disabled parking spaces are also less than 18 feet
20          long. This makes it difficult for Plaintiff to use the adjacent space to safely
21          disembark from the car.
22
23
            VIOLATION of 2010 CBC 1129B.3.1; ADA 2010 section 502.6; ADA §
24
            4.6.3; (Marked Path of Travel). There was also no marked path of travel
25
            from the disabled parking space to the entrance. There is no safe way for
26
27          Plaintiff to park there and then travel to the entrance of the Property. Plaintiff

28          is forced to travel a dangerous route, behind parked cars and in the vehicle
                                           8
                                       COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 9 of 15 Page ID #:9



 1           drive path to move from the space to the entrance.
 2
 3
             VIOLATION of 2010 CBC 1133B.7.1; (Walks/Sidewalks Min. Width 48”)
 4
             The walk into the business does not have a minimum width of 48”. This area
 5
             is further blocked by ashtray installations.
 6
 7
             18.    Upon information and belief, there is no compliant disabled parking,
 8
      walkways, or interior at the Property.
 9
10           19.    Upon information and belief, there is no compliant accessible path of

11    travel into the Property.

12           20.    Plaintiff personally encountered these barriers.
13           21.    These inaccessible conditions denied Plaintiff full and equal access
14    and caused difficulty, humiliation and frustration.
15           22.    The barriers existed during each of Plaintiff’s visits in 2019 and 2020.
16           23.    Plaintiff alleges that Defendants knew that the architectural barriers
17    prevented access. Plaintiff will prove that Defendants had actual knowledge that the
18
      architectural barriers prevented access and that the noncompliance with the
19
      ADAAG and Title 24 of the California Building Code regarding accessible features
20
      was intentional.
21
             24.    Plaintiff intends to return to Defendants public accommodation
22
      facilities in the near future. Plaintiff is currently deterred from returning because of
23
      the knowledge of barriers to equal access that continue to exist at Defendants’
24
25    facilities that relate to Plaintiff’s disabilities.

26           25.    Defendant has failed to maintain in working and useable conditions
27    those features necessary to provide ready access to persons with disabilities.
28           26.    Defendant has the financial resources to remove these barriers without
                                               9
                                           COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 10 of 15 Page ID #:10



 1     much expense or difficulty in order to make their Property more accessible to their
 2     mobility impaired customers. These barriers are readily achievable to remove. The
 3
       United States Department of Justice has identified that these types of barriers are
 4
       readily achievable to remove.
 5
             27.    To date, Defendants refuse to remove these barriers.
 6
             28.    On information and belief, the Plaintiff alleges that the Defendants’
 7
       failure to remove these barriers was intentional because the barriers are logical and
 8
       obvious. During all relevant times Defendants had authority, control and dominion
 9
10     over these conditions and therefore the absence of accessible facilities was not a

11     mishap but rather an intentional act.

12           29.    These barriers to access are described herein without prejudice to
13     Plaintiff citing addition barriers to access after inspection by plaintiff’s access
14     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
15     once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
16     barriers that relate to their disability removed regardless of whether they personally
17     encountered them).
18
19
          IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
20         WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
21                                    (Against All Defendants)
22
23           30.    Plaintiff alleges and incorporates by reference each and every
24
       allegation contained in all prior paragraphs of this complaint.
25
             31.    Title III of the ADA prohibits discrimination against any person on the
26
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
27
       privileges, advantages, or accommodations of any place of public accommodation
28
                                             10
                                          COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 11 of 15 Page ID #:11



 1     by any person who owns, leases or leases to, operates a place of public
 2     accommodation. U.S.C. § 12182(a).
 3
             32.    Defendants discriminated against Plaintiff by denying “full and equal
 4
       enjoyment” and use of the goods, services, facilities, privileges or accommodations
 5
       of Defendant’s facility during each visit and each incident of deterred visit.
 6
             33.    The acts and omissions of Defendant herein are in violation of
 7
       Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
 8
             34.    Pursuant to the ADA discrimination is a “failure to make reasonable
 9
10     modifications in policies, practices or procedures, when such modifications are

11     necessary to afford goods, services, facilities, privileged, advantages or

12     accommodation to individuals with disabilities, unless the entity can demonstrate
13     that making such modifications would fundamentally alter the nature of such goods,
14     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
15     12182(b)(2)(A)(ii).
16           35.    The ADA prohibits failing to remove structural architectural barriers in
17     existing facilities where such removal is readily achievable. 42 U.S.C. §
18
       12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
19
       accomplishable and able to be carried out without much difficulty or expense.” Id.
20
       § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
21
       Part 36.
22
             36.    In the event removal of any barrier is shown to not be readily
23
       achievable, a failure to make goods, services, facilities, or accommodations
24
25     available through alternative methods is also prohibited if these methods are readily

26     achievable. Id. § 12182(b)(2)(A)(v).
27           37.    Plaintiff alleges that Defendant can easily remove the architectural
28     barriers at their facility without much difficulty or expense, and that Defendant
                                           11
                                        COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 12 of 15 Page ID #:12



 1     violated the ADA by failing to remove those barriers because it was readily
 2     achievable to do so. There are companies in the area which can repaint the parking
 3
       areas for as little as $350. Defendants can afford such costs given they are a fraction
 4
       of what the Defendants takes in rental profits for such a large and expensive
 5
       property.
 6
             38.     In the alternative, if it was not “readily achievable” for Defendants to
 7
       remove the facilities barriers, the Defendants violated the ADA by failing to make
 8
       the required services available through alternative methods, which are readily
 9
10     achievable.

11           39.     On information and belief, the facility was modified after January 26,

12     1992, mandating access requirements under the ADA.
13           40.     The ADA requires that facilities altered in a manner that affects or
14     could affect its usability must be made readily accessible to individuals with
15     disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
16           41.     Plaintiff alleges that Defendants altered the facility in a manner that
17     violated the ADA and was not readily accessible to physically disabled persons,
18
       including Plaintiff, to the maximum extent feasible.
19
             42.     The ADA also requires reasonable modification in policies, practices,
20
       or procedures when necessary to afford such goods, services, facilities, or
21
       accommodations to individuals with disabilities, unless the entity can demonstrate
22
       that making such modifications would fundamentally alter their nature. 42 U.S.C. §
23
       12182(b)(2)(A)(ii).
24
25           43.     Plaintiff alleges that Defendants violated the ADA by failing to make

26     reasonable modifications in policies, practices, or procedures at the facility when
27     these modifications were necessary to afford (and would not fundamentally alter the
28     nature of) these goods, services, facilities, or accommodations.
                                            12
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 13 of 15 Page ID #:13



 1           44.    Plaintiff seeks a finding from this Court that Defendants violated the
 2     ADA in order to pursue damages under California’s Unruh Civil Rights Act for
 3
       Disable Persons Act.
 4
             45.    Here the Defendants’ failure to make sure that accessible facilities
 5
       were available and ready to be used by the Plaintiff is a violation of law.
 6
             46.    Plaintiff would like to continue to frequent Defendants’ facility
 7
       because of because it is close to her home, but Plaintiff has been discriminated
 8
       against and continues to be discriminated against because of the lack of accessible
 9
10     features.

11           47.    Among the remedies sought, Plaintiff seeks an injunction order

12     requiring compliance with the state and federal access laws for all the access
13     violations that exist at the Property.
14       V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
                           (Cal. Civ. Code § 51-53.)
15
16                                    (Against All Defendants)
17
             48.    Plaintiff repleads and incorporates by reference, as fully set forth again
18
       herein, the allegations contained in all prior paragraphs of this complaint.
19
20           49.    California Civil Code § 51 states, in part: All persons within the

21     jurisdictions of this state are entitled to the full and equal accommodations,
22     advantages, facilities, privileges, or services in all business establishments of every
23     kind whatsoever.
24           50.    California Civil Code § 51 also states, in part: No business
25     establishment of any kind whatsoever shall discriminate against any person in this
26     state because of the disability of the person.
27
             51.    California Civil Code § 51(f) specifically incorporates (by reference)
28
                                            13
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 14 of 15 Page ID #:14



 1     an individual’s rights under the ADA into the Unruh Act.
 2             52.   The Unruh Act also provides that a violation of the ADA, or California
 3
       state accessibility regulations, is a violation of the Unruh Act. Cal Civ. Code, §
 4
       51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
 5
       (N.D.Cal.1994).
 6
               53.   Defendants’ above-mentioned acts and omissions have violated the
 7
       Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
 8
       advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
 9
10     disability.

11             54.   Defendants’ above-mentioned acts and omissions have also violated

12     the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
13     are liable for damages. (Civ. Code § 51(f), 52(a)).
14             55.   Because violation of the Unruh Civil Rights Act resulted in difficulty,
15     discomfort or embarrassment for the Plaintiff, the Defendants are also each
16     responsible for statutory damages, such as a civil penalty. (Civ. Code § 55.56(a)-
17     (c)).
18
               56.   Plaintiff was actually damaged.
19
       //
20
       //
21
       //
22
       //
23
       //
24
25     //

26     //
27     //
28     //
                                            14
                                         COMPLAINT
     Case 2:20-cv-07342 Document 1 Filed 08/14/20 Page 15 of 15 Page ID #:15



 1           57.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
 2     statutory minimum damages of four thousand dollars ($4,000) for each offense.
 3
                                      PRAYER FOR RELIEF
 4
                      WHEREFORE, Plaintiff prays judgment against Defendants, as
 5
       follows:
 6
             1. For injunctive relief, compelling Defendants to comply with the
 7
                   Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
 8
                   Plaintiff is not invoking section 55 of the California Civil Code and is not
 9
10                 seeking injunctive relief under the Disabled Person Acts.

11           2. Damages under the Unruh Civil Rights Act which provides for actual

12                 damages and a statutory minimum of $4,000 per each offense
13           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
14                 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
15
16     DATED: August 7, 2020                    The Law Office of Hakimi & Shahriari
17                                        By:   /s/ Peter Shahriari, Esq.____________
18                                              PETER SHAHRIARI, ESQ.
                                                Attorney for Plaintiff George Jones
19
20
21
22
23
24
25
26
27
28
                                             15
                                          COMPLAINT
